           Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION, et al.,

                              Plaintiffs,

                              v.                     Civil Action No. 15-cv-00256 (APM)

SYSCO CORPORATION,

and

USF HOLDING CORP.,

and

US FOODS, INC.,

                              Defendants.



  [PROPOSED] PROTECTIVE ORDER GOVERNING CONFIDENTIAL MATERIAL

       For the purpose of protecting the interests of the parties and third parties in the above-

captioned matter against improper use and disclosure of confidential information submitted or

produced in connection with this matter:

       IT IS HEREBY ORDERED THAT this Protective Order Governing Confidential

Material (“Protective Order”) shall govern the handling of all Confidential Material, as hereafter

defined.

       1.       As used in this Order, “Confidential Material” shall refer to any document or

portion thereof that contains privileged information, competitively sensitive information, or

sensitive personal information. “Sensitive personal information” shall refer to, but shall not be

limited to, an individual's Social Security number, taxpayer identification number, financial

information, credit card or debit card number, driver's license number, state-issued identification
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 2 of 10




number, passport number, date of birth (other than year), and any sensitive health information

identifiable by individual, such as an individual’s medical records. “Document” shall refer to

any discoverable writing, recording, transcript of oral testimony, or electronically stored

information in the possession of a party or a third party. “Commission” shall refer to the Federal

Trade Commission (“FTC”), or any of its employees, agents, attorneys, and all other persons

acting on its behalf, excluding persons retained as consultants or experts for purposes of this

proceeding.

       2.      Any document or portion thereof submitted by a Defendant or a third party during

a Federal Trade Commission investigation or during the course of this proceeding that is entitled

to confidentiality under the Federal Trade Commission Act, or any other federal statute or

regulation, or under any federal court or Commission precedent interpreting such statute or

regulation, as well as any information that discloses the substance of the contents of any

Confidential Materials derived from a document subject to this Order, shall be treated as

Confidential Material for purposes of this Order. The identity of a third party submitting such

Confidential Material shall also be treated as Confidential Material for the purposes of this Order

where the submitter has requested such confidential treatment.

       3.      The parties and any third parties, in complying with informal discovery requests,

disclosure requirements, or discovery demands in this proceeding may designate any responsive

document or portion thereof as Confidential Material, including documents obtained by them

from third parties pursuant to discovery or as otherwise obtained.

       4.      The parties, in conducting discovery from third parties, shall provide to each third

party a copy of this Order so as to inform each third party of his, her, or its rights herein.




                                                   2
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 3 of 10




       5.      A designation of confidentiality shall constitute a representation in good faith and

after careful determination that the material is not reasonably believed to be already in the public

domain, that counsel believes the material so designated constitutes Confidential Material as

defined in Paragraph 1 of this Order.

       6.      Material may be designated as confidential by placing on or affixing to the

document containing such material (in such manner as will not interfere with the legibility

thereof), or, if an entire folder or box of documents is confidential, by placing or affixing to that

folder or box, the designation “CONFIDENTIAL–FTC, et al. v. Sysco Corp., et al., Case No.

XXXX,” or any other appropriate notice that identifies this proceeding, together with an

indication of the portion or portions of the document considered to be Confidential Material.

Confidential information contained in electronic documents may also be designated as

confidential by placing the designation “CONFIDENTIAL–FTC, et al. v. Sysco Corp., et al.,

Case No. XXXX,” or any other appropriate notice that identifies this proceeding, on the face of

the CD or DVD or other medium on which the document is produced. Masked or otherwise

redacted copies of documents may be produced where the portions masked or redacted contain

privileged matter, provided that the copy produced shall indicate at the appropriate point that

portions have been masked or redacted and the reasons therefor.

       7.      Confidential Material shall be disclosed only to: (a) the Court presiding over this

proceeding, personnel assisting the Court, the Plaintiffs, any state or commonwealth that may

hereafter join this action as a plaintiff (provided such state or commonwealth has signed an

agreement to abide by the terms of this Protective Order), Plaintiffs’ employees, and personnel

retained by Plaintiffs as experts or consultants for this proceeding; (b) judges and other court

personnel of any court having jurisdiction of any appellate proceeding involving this matter;




                                                  3
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 4 of 10




(c) outside counsel of record for any Defendant, their associated attorneys, and other employees

of their law firm(s), provided they are not employees of a Defendant; (d) anyone retained to

assist outside counsel in the preparation or hearing of this proceeding including consultants,

provided they are not affiliated in any way with a Defendant and have signed an agreement to

abide by the terms of the protective order; and (e) any witness or deponent who may have

authored or received the information in question.

       8.      Disclosure of Confidential Material to any person described in Paragraph 7 of this

Order shall be only for the purposes of the preparation and hearing of this proceeding, or any

appeal therefrom, and for no other purpose whatsoever, provided, however, that the Commission

may, subject to taking appropriate steps to preserve the confidentiality of such material, use or

disclose Confidential Material as provided by its Rules of Practice, sections 6(f) and 21 of the

Federal Trade Commission Act; or any other legal obligation imposed upon the Commission.

       9.      In the event that any Confidential Material is contained in any pleading, motion,

exhibit or other paper filed or to be filed with the Court, the Court shall be so informed by the

Party filing such papers, and such papers shall be filed in camera. To the extent that such

material was originally submitted by a third party, the Party including the materials in its papers

shall immediately notify the submitter of such inclusion. Confidential Material contained in the

papers shall continue to have in camera treatment until further order of the Court, provided,

however, that such papers may be furnished to persons or entities who may receive Confidential

Material pursuant to Paragraphs 7 or 8. Upon or after filing any paper containing Confidential

Material, the filing party shall file on the public record a duplicate copy of the paper that does

not reveal Confidential Material. Further, if the protection for any such material expires, a party




                                                  4
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 5 of 10




may file on the public record a duplicate copy which also contains the formerly protected

material.

       10.     If counsel plans to introduce into evidence at the hearing any document or

transcript containing Confidential Material produced by another party or by a third party, they

shall provide advance notice to the other party or third party for purposes of allowing that party

to seek an order that the document or transcript be granted in camera treatment. If that party

wishes in camera treatment for the document or transcript, the party shall file an appropriate

motion with the Court within 5 days after it receives such notice. Except where such an order is

granted, all documents and transcripts shall be part of the public record. Where in camera

treatment is granted, a duplicate copy of such document or transcript with the Confidential

Material deleted therefrom may be placed on the public record.

       11.     If any party receives a discovery request in any investigation or in any other

proceeding or matter that may require the disclosure of Confidential Material submitted by

another party or third party, the recipient of the discovery request shall promptly notify the

submitter of receipt of such request. Unless a shorter time is mandated by an order of a court,

such notification shall be in writing and be received by the submitter at least 10 business days

before production, and shall include a copy of this Protective Order and a cover letter that will

apprise the submitter of its rights hereunder. Nothing herein shall be construed as requiring the

recipient of the discovery request or anyone else covered by this Order to challenge or appeal

any order requiring production of Confidential Material, to subject itself to any penalties for non-

compliance with any such order, or to seek any relief from the Court. The recipient shall not

oppose the submitter’s efforts to challenge the disclosure of Confidential Material. In addition,

nothing herein shall limit the applicability of Rule 4.11(e) of the Commission's Rules of Practice,




                                                 5
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 6 of 10




16 C.F.R. § 4.11(e), to discovery requests in another proceeding that are directed to the

Commission.

        12.    At the time that any consultant or other person retained to assist counsel in the

preparation of this action concludes participation in the action, such person shall return to

counsel all copies of documents or portions thereof designated confidential that are in the

possession of such person, together with all notes, memoranda or other papers containing

confidential information. At the conclusion of this proceeding, including the exhaustion of

judicial review, the parties shall return documents obtained in this action to their submitters,

provided, however, that the Commission’s obligation to return documents shall be governed by

the provisions of Rule 4.12 of the Rules of Practice, 16 C.F.R. § 4.12.

       13.     The provisions of this Protective Order, insofar as they restrict the communication

and use of confidential discovery material, shall, without written permission of the submitter or

further order of the Court, continue to be binding after the conclusion of this proceeding.


       ISSUED this ____ day of ______________________, 2015, at ________ a.m./p.m.

ORDERED:



                                                              ______________________________

                                                              United States District Court Judge




                                                  6
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 7 of 10




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                                             7
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 8 of 10




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                                               8
        Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 9 of 10




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                                              9
       Case 1:15-cv-00256-APM Document 8-1 Filed 02/20/15 Page 10 of 10




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                                           10
